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 5                               UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
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 7    ANA LILIAN MOLINA,                                Case No. 5:19-CV-02343 (VEB)

 8                          Plaintiff,                  JUDGMENT

 9    vs.

      ANDREW M. SAUL, Commissioner of Social
10    Security,

11                         Defendant.

12
            For the reasons set forth in the accompanying Decision and Order, it is hereby ADJUDGED
13   AND DECREED THAT (1) Plaintiff’s request for an order remanding the case for further

14   proceedings is DENIED; (2) the Commissioner’s request for an order affirming the Commissioner’s

15   final decision and dismissing the action is GRANTED; (3) judgment is entered in the

     Commissioner’s favor; and (4) the Clerk of the Court shall CLOSE this case.
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            DATED this 19th day of October, 2020
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18
                                              /s/Victor E. Bianchini
                                              VICTOR E. BIANCHINI
19                                       UNITED STATES MAGISTRATE JUDGE

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                         JUDGMENT – MOLINA v SAUL 5:19-CV-02343-VEB
